                  Case 3:18-cv-01876-HZ         Document 1        Filed 10/25/18   Page 1 of 5




     KYLE SCHUMACHER (BAR #121887)
1    kschumacher@sagarialaw.com
     SAGARIA LAW, P.C.
2    3017 Douglas Blvd., Ste. 200
     Roseville, CA 95661
3    408-279-2288 ph
     408-279-2299 fax
4
     Attorneys for Plaintiff
5    Jeffrey Peterson
6                                    UNITED STATES DISTRICT COURT
7
                             DISTRICT OF OREGON – PORTLAND DIVISION
8

9                                                     CASE NO. 3:18-cv-01876
     JEFFREY PETERSON,
10

11                             Plaintiff,             PLAINTIFF’S COMPLAINT FOR DAMAGES:
12           v.
                                                           1. Violation of the Telephone Consumer
13                                                            Protection Act
     MACY’S, INC.,
14
                               Defendant.
15

16
             COMES NOW Plaintiff Jeffrey Peterson, an individual, based on information and belief,
     to allege as follows:
17

18                                            INTRODUCTION

19       1. This is an action for damages brought by an individual consumer for Defendant’s

20   violation of the Telephone Consumer Protection Act 47 U.S.C. §227, et seq. (hereinafter

21   “TCPA”), which prohibits the use of automated dialing equipment when making calls to

22   consumers.

23       2. Plaintiff brings this action against Defendant Macy’s, Inc. (hereinafter “Macy’s”) for its

24   abusive and outrageous conduct in connection with debt collection activity.
        3. While may violations are described below with specificity, this Complaint alleges
25
     violations of the statutes cited in their entirety.
26
         4. The TCPA was designed to prevent calls like the ones described herein, and to protect
27
     the privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give
28

                                                           1
                 Case 3:18-cv-01876-HZ        Document 1       Filed 10/25/18      Page 2 of 5




     consumers a choice as to how corporate entities may contact them and to prevent the nuisance
1
     associated with automated or prerecorded calls.
2

3                                     JURISDICTION & VENUE

4       5. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §

5    227.

6
        6. This venue is proper pursuant to 28 U.S.C. §1391(b).

7
                                      GENERAL ALLEGATIONS
        7.   Plaintiff Jeffrey Peterson (hereinafter “Plaintiff”) is an individual residing in the state
8
     of Oregon, and is a “debtor.”
9
        8.   At all relevant times herein, Defendant MACY’S engaged, by the use of mail, email,
10
     and telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt.”
11      9.   At all relevant times, Defendant acted as a “debt collector.”
12      10. Plaintiff had taken out an unsecured loan with MACY’S in approximately 2005.
13      11. The loan Plaintiff took from Defendant MACY’S was extended primarily for
14   personal, family or household purposes and is therefore a “debt.”

15
        12. Defendant MACY’S has been attempting to collect on a debt that originated from
     monetary credit that was extended primarily for personal, family, or household purposes, and
16
     was therefore a “consumer credit transaction.”
17
        13. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant
18
     MACY’S arising from what Plaintiff is informed and believes was a consumer credit
19
     transaction, the money allegedly owed was a “consumer debt.”
20
        14. Plaintiff is informed and believes that Defendant is one who regularly collects or
21   attempts to collect debts on behalf of themselves, and is therefore a “debt collector.”.
22      15. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the
23   accounts.
24      16. Plaintiff began making payments on the loan before he became financially unable to

25
     keep up with the monthly payments.
        17. Defendant MACY’S began contacting Plaintiff in July of 2018 to inquire about the
26
     status of the loan and to collect on the payments that were no longer being made.
27

28

                                                       2
                  Case 3:18-cv-01876-HZ        Document 1        Filed 10/25/18      Page 3 of 5




         18. Plaintiff retained counsel to assist in dealing with Macy’s debt and to seek some type
1
     of financial relief.
2
         19. Counsel for Plaintiff sent Defendant Macy’s a letter confirming that Plaintiff and was
3
     revoking any consent to be contacted on his cellular telephone and to no longer contact
4
     Plaintiff directly and that all calls/letters/collection efforts were to no longer be directed at
5
     Plaintiff.
6        20. Counsel for Plaintiff sent the letter of representation to Macy’s on or about September
7    20, 2018
8        21. Plaintiff believes his revocation and representation letter was received by Macy’s on
9    September 22, 2018.

10
         22. Plaintiff informed Macy’s that he was revoking his consent, if it was ever previously
     given, to be called on his telephone in August of 2018.
11
         23. Plaintiff was frustrated that Macy’s continued to make unsolicited calls on his cellular
12
     telephone after contacting Macy’s to revoke his consent.
13
         24. Plaintiff denies he ever gave his express consent to be contacted on his cellular
14
     telephone by automatic dialing machines and pre-recorded messages.
15
         25. Defendant Macy’s continued to contact Plaintiff between approximately September
16   24, 2018 – October 23, 2018; the type of contact was through phone calls to Plaintiff on his
17   cellular telephone.
18       26. Despite notice being sent Defendant continued to contact Plaintiff on his cellular
19   telephone regarding collection of his outstanding debt.

20
         27. Macy’s ignored Plaintiff’s letter of revocation and continued to contact him for at least
     four months following receipt of Plaintiff’s letter.
21
         28. Despite being aware of Plaintiff’s September 20, 2018 revocation Macy’s continued to
22
     contact Plaintiff on his cellular telephone.
23
         29. Plaintiff was contacted frequently regarding non-payment of the debt owed to Macy’s
24
     despite Macy’s being notified that Plaintiff had retained counsel to deal specifically with the
25
     debt owed to Macy’s.
26       30. Macy’s calls were frequent in nature and continued despite receiving written
27   confirmation that Plaintiff was represented by an attorney and that he was revoking any
28   consent that may have been previously given to be called on his cellular telephone.

                                                        3
                Case 3:18-cv-01876-HZ            Document 1      Filed 10/25/18     Page 4 of 5




                                         FIRST CAUSE OF ACTION
1
                                              (Violation of the TCPA)
2                                                 (47 USC § 227)
                                            (Against Defendant Macy’s)
3
         31. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
4
     above as though fully set forth herein.
5
         32. Since at least August of 2018 Defendant started calling Plaintiff’s cellular telephone
6
     requesting that payment be made on the accounts Plaintiff held with Defendant.
7        33. Plaintiff informed Defendant that he was revoking consent to be contacted by MACY’S
8    in April of 2018.
9        34. MACY’S continued to call Plaintiff frequently since Plaintiff withdrew his consent to

10   be contacted by an automatic dialing machine.

11       35. Defendant would contact Plaintiff frequently regarding payment on the accounts.
         36. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver
12
     the collection messages without Plaintiff’s prior express consent.
13
         37. Defendant contacted Plaintiff on at least 60 (sixty) separate occasions after Plaintiff
14
     informed Defendant he did not wish to be contacted on his cellular telephone and withdrew any
15
     prior consent that may have been given.
16
         38. The calls were made for at least four months after Macy’s became aware that Plaintiff revoked
17   his consent to be called on his cellular telephone.
18       39. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing

19   system” as defined by 47 U.S.C. §227(a)(1).
         40. These calls were made to Plaintiff’s cellular telephone and were not calls for an
20
     emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
21
         41. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).
22

23                                          PRAYER FOR RELIEF
24   WHEREFORE, Plaintiff prays for judgment as follows:
25               a. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.

26                   §227(b)(3)(C) for each and every violation.
                 b. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
27
                     in the future.
28

                                                           4
              Case 3:18-cv-01876-HZ         Document 1       Filed 10/25/18   Page 5 of 5




               c. Pursuant to 15 U.S.C. 1692(k) both actual damages and statutory damages in an
1
                  amount to be proven at trial.
2
                                                         SAGARIA LAW, P.C.
3    Dated: October 25, 2018                             By:    /s/ Kyle Schumacher
                                                         Kyle Schumacher
4
                                                         Attorneys for Plaintiff
5
                                   DEMAND FOR JURY TRIAL
6

7
           Plaintiff hereby demands trial of this matter by jury.

8
                                                         SAGARIA LAW, P.C.
9
     Dated: October 25, 2018                                    /s/ Kyle Schumacher
10
                                                         Kyle Schumacher
11                                                       Attorneys for Plaintiff

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                     5
